Case 2:05-cv-02333-SHI\/|-dkv Document 14 Filed 07/28/05 PagelofS Page|D 1

DO.
IN THE UNITED STA'I‘ES DISTRICT COURT Fu£o md

FOR THE WESTERN DISTRICT OF TENNESSEE

 

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THOMAS & BETTS INTERNATIONAL, GERFQ»LS-D§ST.EYTM
INC~' ET AL-' \¢:.-:_10.!? m a.,~!l~:.AWas
Plaintiffs,
VS' No. 05-2333-Mav

JOHN MEZZALINGUA ASSOCIATES,
INC. d/b/a PPC, INC.,

Defendant.

 

ORDER GRANTING MOTION TO APPEAR PRO HAC VICE

 

Before the court is the July 22, 2005, motion for admission
pro hac vice of James R. Muldoon. Mr. Muldoon is a member in
good standing of the bar of the state of New York and is admitted
to practice before the United States District Courts for the
Northern, Western, Southern, and Eastern Districts of New York.
Mr. Muldoon has obtained and is familiar with the local rules and
professional guidelines of this court. For good cause shown, the
motion is granted and James R. Muldoon is admitted to participate

in this action as counsel for defendant.

q,¢.\A

It is so ORDERED this day of July, 2005.

My/*"'/c_

SAMUEL H. MAYS, JR.
UNITED STA'I'ES DISTRICT JUDGE

 

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Honorable Samuel Mays
US DISTRICT COURT

